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                                  UNITED STATES DISTRICT COURT
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                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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12    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
13                                                      [PROPOSED] ORDER DENYING
             Plaintiffs,                                PLAINTIFFS’ MOTION FOR AN
14                                                      ORDER OF SANCTIONS FOR
             v.                                         GOOGLE’S DISCOVERY
15                                                      MISCONDUCT
      GOOGLE LLC,
16                                                      Judge: Hon. Susan van Keulen, USMJ
             Defendant.
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                                                   -1-               Case No. 4:20-cv-5146-YGR-SVK
                                     [PROPOSED] ORDER DENYING PLAINTIFFS’ MOTION FOR SANCTIONS
     Case 4:20-cv-05146-YGR         Document 748-6        Filed 07/01/22     Page 2 of 2




 1                                       [PROPOSED] ORDER
 2          Before the Court is Plaintiffs’ Motion for an Order of Sanctions for Google’s Discovery
 3 Misconduct (Dkt. 670) (the “Motion”). Having considered the parties’ papers filed in support of and
 4 in opposition to the Motion, other papers on file, and the parties’ presentations at the hearing held
 5 on August 11, 2022 at 9:30 a.m., the Court ORDERS as follows:
 6          The Motion is denied.
 7          IT IS SO ORDERED.
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 9 DATED: ____________________
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12                                                HON. SUSAN VAN KEULEN
                                                  UNITED STATES MAGISTRATE JUDGE
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                                                  -2-               Case No. 4:20-cv-5146-YGR-SVK
                                    [PROPOSED] ORDER DENYING PLAINTIFFS’ MOTION FOR SANCTIONS
